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                              EXHIBIT C
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     From:               Loper, Timothy (CRM)
     To:                 Steve Sadow
     Cc:                 Robyn Lynn Sztyndor; Hayes, James (CRM)
     Subject:            RE: Minal Patel - Advice of counsel
     Date:               Tuesday, June 22, 2021 4:53:00 PM


     Understood. Thank you.
     From: Steve Sadow <stevesadow@gmail.com>
     Sent: Tuesday, June 22, 2021 4:35 PM
     To: Loper, Timothy (CRM) <Timothy.Loper@usdoj.gov>
     Cc: Robyn Lynn Sztyndor <rls409@nyu.edu>; Hayes, James (CRM) <James.Hayes@usdoj.gov>
     Subject: Re: Minal Patel - Advice of counsel
     Respectfully, I disagree with you about the responsibility of the defense to produce material the
     government already possesses. Particularly where, as here, the government obtained the material
     through search warrants.

     Steve Sadow
     404-577-1400 office
     404-242-9440 cell




            On Jun 22, 2021, at 2:30 PM, Loper, Timothy (CRM) <Timothy.Loper@usdoj.gov>
            wrote:

            ﻿
            Thanks. That might be, I don’t know. I do know the caselaw says a defendant is
            required to produce all required materials, including those already in the government’s
            possession. So our position would be that defense would have to produce whatever
            records relate to the defense.
            From: Steve Sadow <stevesadow@gmail.com>
            Sent: Tuesday, June 22, 2021 4:20 PM
            To: Loper, Timothy (CRM) <Timothy.Loper@usdoj.gov>
            Cc: Robyn Lynn Sztyndor <rls409@nyu.edu>; Hayes, James (CRM)
            <James.Hayes@usdoj.gov>
            Subject: Re: Minal Patel - Advice of counsel
            I understand the vast amount of the discovery you seek has either been made available
            to you by the Filter Team or is in the process of being produced to you by the Filter
            Team.

                Steve Sadow
                404-577-1400 office
                404-242-9440 cell
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                  On Jun 22, 2021, at 11:42 AM, Loper, Timothy (CRM)
                  <Timothy.Loper@usdoj.gov> wrote:

              ﻿
              Hi Steve, you previously mentioned that Mr. Patel would be raising an
              advice of counsel defense, and that you would provide discovery related
              to that at some point. Can you please tell us when you anticipate
              providing that discovery?
              Thank you,
              Tim
              From: Steve Sadow <stevesadow@gmail.com>
              Sent: Thursday, May 28, 2020 11:25 AM
              To: Loper, Timothy (CRM) <Timothy.Loper@CRM.USDOJ.GOV>
              Cc: Robyn Lynn Sztyndor <rls409@nyu.edu>; Hayes, James (CRM)
              <James.Hayes@CRM.USDOJ.GOV>
              Subject: Re: Minal Patel - Advice of counsel
              Respectfully, our current position is the same as previously stated. Trial is
              still 5 months off - assuming our scheduled trial date remains the same.
              While we have received some cellphone forensic reports from the filter
              team, we have not received all of the unredacted material being reviewed
              and of course, we are still waiting for the release of the entirety of phones
              or email accounts [the government] imaged, including attorney-client
              communications that [the government] want[s] to produce under Rule
              502(d).”




                  Steve Sadow
                  404-577-1400 office
                  404-242-9440 cell




                        On May 28, 2020, at 11:05 AM, Loper, Timothy (CRM)
                        <Timothy.Loper@usdoj.gov> wrote:
                        Steve, following up on the string below, what is your current
                        position on when the government will receive discovery
                        related to the advice of counsel defense, including the
                        specific legal advice upon which Mr. Patel relied and related
                        communications with those attorneys?
                        Thank you,
                        Tim
                        Timothy Loper
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                   Trial Attorney
                   Fraud Section, Criminal Division
                   U.S. Department of Justice
                   (202) 262-6276 (cell)
                   From: Loper, Timothy (CRM)
                   Sent: Monday, February 10, 2020 11:06 AM
                   To: Steve Sadow <stevesadow@gmail.com>
                   Cc: Robyn Lynn Sztyndor <rls409@nyu.edu>; Hayes, James
                   (CRM) <James.Hayes@CRM.USDOJ.GOV>
                   Subject: RE: Minal Patel - Advice of counsel
                   Thank you. I understand that the filter team is making a
                   production to you of the unredacted material very soon. We
                   received your drive and they are putting the material on it as
                   we speak. Also, as I understand it, the phone call did not
                   relate to discovery but to Ms. Sztyndor’s correspondence
                   regarding her June 2019 letter. In any event, we respectfully
                   request discovery related to the advice of counsel defense.
                   Tim
                   Timothy Loper
                   Trial Attorney
                   Fraud Section, Criminal Division
                   U.S. Department of Justice
                   (202) 262-6276 (cell)
                   From: Steve Sadow [mailto:stevesadow@gmail.com]
                   Sent: Monday, February 10, 2020 10:36 AM
                   To: Loper, Timothy (CRM)
                   <Timothy.Loper@CRM.USDOJ.GOV>
                   Cc: Robyn Lynn Sztyndor <rls409@nyu.edu>; Hayes, James
                   (CRM) <James.Hayes@CRM.USDOJ.GOV>
                   Subject: Re: Minal Patel - Advice of counsel
                   Respectfully, we will disclose any Rule 16 reciprocal
                   discovery related to that defense after we receive all the
                   discovery to which we are entitled. Indeed, we never
                   received the unredacted material from the taint review
                   team and the taint review attorney never rescheduled her
                   telephone conference with us.

                   Steve Sadow
                   404-577-1400 office
                   404-242-9440 cell

                         On Feb 10, 2020, at 10:13 AM, Loper,
                         Timothy (CRM)
                         <Timothy.Loper@usdoj.gov> wrote:
                         Steve, you previously mentioned that Mr. Patel
                         would be raising an advice of counsel defense.
                         What is your position on when the government
                         will receive discovery related to that defense,
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                        including the specific legal advice upon which
                        Mr. Patel relied and related communications
                        with those attorneys?
                        Thank you,
                        Tim
                        Timothy Loper
                        Trial Attorney
                        Fraud Section, Criminal Division
                        U.S. Department of Justice
                        (202) 262-6276 (cell)
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     From:                          De Boer, Jamie (CRM)
     To:                            Steve Sadow
     Cc:                            Don Samuel; Rookard, Katherine (CRM); Cuyler Jr., Reginald (CRM); Brian Rafferty
     Subject:                       RE: [EXTERNAL] Advice of Counsel issues
     Date:                          Friday, September 9, 2022 12:54:41 PM


     Hi Steve,

     I’ll respond on the first issue now – I think there is still a disconnect on what we are currently asking
     for. Right now, we are asking for discovery, not exhibit list. I thought Don and I were on the same
     page about that. We’d like to get that piece resolved, or confirmation that Mr. Patel opposes our
     request so that we can seek relief from the Court if necessary.

     The change in substantive counts should not bear on your ability to produce material you were
     already obligated to produce. Unless I am missing something?

     Noted re       – we will get back to you. In any event, I’m not sure why this impacts your position
                 Co-Conspirator A




     on your AOC discovery obligations.

     Regards,
     Jamie

     From: Steve Sadow <stevesadow@gmail.com>
     Sent: Friday, September 9, 2022 12:45 PM
     To: De Boer, Jamie (CRM) <Jamie.deBoer@usdoj.gov>
     Cc: Don Samuel <dfs@gsllaw.com>; Rookard, Katherine (CRM) <Katherine.Rookard@usdoj.gov>;
     Cuyler Jr., Reginald (CRM) <Reginald.Cuyler.Jr@usdoj.gov>; Brian Rafferty
     <brafferty@bakerlaw.com>
     Subject: Re: [EXTERNAL] Advice of Counsel issues

     Jamie

     Don is in trial. But respectfully, this is not accurate. Mr. Patel does not intend to identify all Bates
     ranges referenced in (a) unless the government does the same and at the same time with its case-in-
     chief potential exhibits.

     Also, the proposed date is not agreeable in light of the superseding indictment and the three new,
     replacement substantive healthcare counts.

     One other thing that could impact our overall position: Why wasCo-Conspirator A removed from the
     superseding indictment and when was the decision made by DOJ to do so? It is difficult for the
     defense to understand how            could be an unindicted conspirator (but name withheld) as found
                                                  Co-Conspirator A




     by the grand jury in the original indictment in September 2019 but somehow not be named as such
     in the superseding indictment in September 2022. Respectfully, trial strategy does not explain the
     change. And if the evidence has changed, it must mean the government has learned something
     favorable to Mr. Patel, which has not been disclosed to the defense. There must be another reason,
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     maybe memorialized in an internal prosecution memo.

     Steve Sadow
     404-577-1400 office
     404-242-9440 cell




           On Sep 9, 2022, at 10:15 AM, De Boer, Jamie (CRM) <Jamie.deBoer@usdoj.gov> wrote:

           Don,

           I am following up on our conversation from Wednesday. I am confirming that Mr. Patel
           agrees to complete his discovery obligations pertaining to advice of counsel. That is,
           you will: (a) identify all Bates ranges of material produced by the Government to Mr.
           Patel that pertains to the advice of counsel; and (b) produce any additional materials in
           Mr. Patel’s possession, custody, or control that pertain to advice of counsel. As to (b),
           you referenced a cell phone and possibly additional material that you needed to
           review, as well as material that you previously asserted privilege over that you want to
           confirm is relevant/not relevant to the allegations in the Indictment.

           We are requesting that you complete this production by September 23.

           Please confirm the above, including the time frame of completing this by September
           23.

           Regards,
           Jamie


           From: Don Samuel <dfs@gsllaw.com>
           Sent: Tuesday, September 6, 2022 5:00 PM
           To: De Boer, Jamie (CRM) <Jamie.deBoer@usdoj.gov>
           Subject: Re: [EXTERNAL] Advice of Counsel issues

           Sure. 404-697-9400. I am still in court now. But at 8:30 tomorrow, we can talk,
           though I will be heading back into court by 8:45.

           DFS


           From: De Boer, Jamie (CRM) <Jamie.deBoer@usdoj.gov>
           Date: Tuesday, September 6, 2022 at 4:58 PM
           To: Don Samuel <dfs@gsllaw.com>
           Subject: RE: [EXTERNAL] Advice of Counsel issues
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         Thank you. Should I call you at 8:30 tomorrow?


         From: Don Samuel <dfs@gsllaw.com>
         Sent: Tuesday, September 6, 2022 2:02 PM
         To: De Boer, Jamie (CRM) <Jamie.deBoer@usdoj.gov>
         Subject: Re: [EXTERNAL] Advice of Counsel issues

         Sorry for my unavailability. Just to be clear, you will, in fact, have everything we
         shortly. I am checking to see if we hace any documents (memos, emails, etc) that
         could possibly be used at trial. I will not be reviewing all these documents and picking
         out what is best-suited to our advice of counsel defense. But you will have the universe
         of documents from which the exhibits will be drawn.

         Don Samuel


         From: De Boer, Jamie (CRM) <Jamie.deBoer@usdoj.gov>
         Date: Tuesday, September 6, 2022 at 9:15 AM
         To: Don Samuel <dfs@gsllaw.com>
         Cc: steve sadow <steve8300@me.com>, Brian Rafferty
         <brafferty@bakerlaw.com>, Cuyler Jr., Reginald (CRM)
         <Reginald.Cuyler.Jr@usdoj.gov>, Rookard, Katherine (CRM)
         <Katherine.Rookard@usdoj.gov>
         Subject: RE: [EXTERNAL] Advice of Counsel issues

         Thanks. I am available before 2pm Eastern.

         Jamie


         From: Don Samuel <dfs@gsllaw.com>
         Sent: Tuesday, September 6, 2022 8:05 AM
         To: De Boer, Jamie (CRM) <Jamie.deBoer@usdoj.gov>
         Cc: steve sadow <steve8300@me.com>; Brian Rafferty <brafferty@bakerlaw.com>;
         Cuyler Jr., Reginald (CRM) <Reginald.Cuyler.Jr@usdoj.gov>; Rookard, Katherine (CRM)
         <Katherine.Rookard@usdoj.gov>
         Subject: Re: [EXTERNAL] Advice of Counsel issues

         I am in court this morning. Will call you at Lunch, or whenever convenient for
         you this afternoon.   

         Don Samuel
         Garland, Samuel & Loeb
         dfs@gsllaw.com
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                  On Sep 2, 2022, at 6:05 PM, De Boer, Jamie (CRM)
                  <Jamie.deBoer@usdoj.gov> wrote:

              ﻿
              Don,

              Thanks, but it doesn’t sound like you have discussed all of the specific
              requests we made. Please let us know by noon on Tuesday your
              position on the following, which I have pasted from the other email
              chain. To be clear, this doesn’t ask about exhibits — this asks about
              discovery that you are obligated to produce. Please confirm if you are
              going to do the below or not so we can get this issue in front of the
              court if need be.



                  With respect to our proposed motion to compel discovery regarding
                  the advice of counsel defense, you are going to confer with your
                  team regarding whether Mr. Patel will agree to complete the
                  following by September 23: (a) identify specific Bates ranges of
                  material produced by the Government to Mr. Patel that pertains to
                  the advice of counsel (to relieve you of the burden of re-producing all
                  of that material to the Government); and (b) produce any additional
                  materials in Mr. Patel’s possession, custody, or control that pertain to
                  the advice of counsel. As to (b), you expressed that your current
                  belief is that the Government already has all such discovery, but I
                  confirmed for you that it is the Government’s position that the
                  defense is obligated to search for and produce anything else
                  pertaining to this defense that is in Mr. Patel’s possession, custody,
                  or control.  




                  On Sep 2, 2022, at 5:44 PM, Don Samuel <dfs@gsllaw.com> wrote:

                  ﻿
                  The defense team has discussed among ourselves the issues relating
                  to the advice of counsel defense. First, as we discussed previously,
                  we have told the filter team that we waived the privilege in our
                  discussions and dealings with the filter team last year. The waiver
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             applied to thousands of documents. If any documents were not
             subject to the waiver, I will check and will add those to the list, but I
             believe you have virtually everything we have with a few exceptions
             that are unrelated to the issues in this case, but we will confirm that
             ASAP.

             We have previously furnished to you Minal Patel’s waiver which he
             was authorized to provide and which your predecessors agreed was
             in the appropriate form. Minal did have, and does now have, the
             authority to waive the attorney-client privilege.

             We do not agree that we are required to provide to you specific
             documents that we will introduce in support of the advice of counsel
             defense. We will mark exhibits and share them with you when you do
             likewise with your exhibits. As far as we can tell from the court’s
             order, that will be in mid-November.

             If you have any questions, feel free to call me.

             Don Samuel
